Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18           PageID.625   Page 1 of 43



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

     MICHAEL BOWMAN, individually
     and on behalf of all others similarly
     situated,
                                                 Case No. 17-cv-11630-NGE
                       Plaintiff,
                                                 Hon. Nancy G. Edmunds
     v.
                                                 Mag. R. Steven Whalen
     ART VAN FURNITURE, INC., a
     Michigan corporation,

                      Defendant.


                 PLAINTIFF’S MOTION FOR FINAL APPROVAL
                      OF CLASS ACTION SETTLEMENT

          Plaintiff Michael Bowman (“Plaintiff” or “Bowman”), individually and on

 behalf of a class of similarly-situated individuals, moves the Court, pursuant to

 Federal Rule of Civil Procedure 23, for an Order granting final approval of the

 proposed class action Settlement Agreement agreed to by the parties and, in

 support, states as follows:

          1.    Plaintiff Bowman brought this alleged class action lawsuit against

 Defendant Art Van Furniture, Inc. (“Art Van” or “Defendant”)1 challenging certain

 telephone calls that Plaintiff alleges Defendant made to him and others in violation



 1
  Art Van Furniture, Inc., a Michigan corporation, converted to Art Van Furniture,
 LLC, a Delaware limited liability company.
                                             1
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18           PageID.626    Page 2 of 43




 of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. and

 its implementing regulation, 47 C.F.R. §64.1200, et seq.

       2.     The TCPA makes it unlawful for anyone to make telemarketing calls

 using a pre-recorded voice without first obtaining the prior express consent of the

 called party. 47 U.S.C. §§ 227(b)(1)(A)(iii) and (b)(1)(B).

       3.     Bowman alleges that Art Van violated the TCPA by calling him and

 others in violation of the TCPA. Specifically, Bowman alleges that Art Van used

 pre-recorded voice technology to call his residential telephone number for the

 purposes of inviting Bowman to a sales event.

       4.     Art Van denies that it called Bowman or anyone else without first

 obtaining prior express consent, denies that its calls were telemarketing calls, and

 has raised other defenses.

       5.     Notwithstanding their disagreements as to the underlying merits of

 their respective claims and defenses, the parties have entered into a Settlement

 Agreement, subject to final Court approval, that provides relief to the proposed

 class, including: (i) the establishment of a settlement fund of five million eight

 hundred seventy-five thousand dollars ($5,875,000 USD) for the payment of all

 approved claims, settlement administration expenses, and any incentive awards and

 award of attorneys’ fees and for reimbursement of costs approved by the Court, (ii)

 requiring that Art Van take affirmative steps to ensure that it does not call or


                                            2
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.627    Page 3 of 43




 contract with any third party to call consumers using pre-recorded voice

 technology without first securing the prior express consent of the called party.

       6.     The Court granted preliminary approval of this settlement agreement

 on July 23, 2018, subject to a fairness hearing and final approval.

       7.     Notice has been disseminated to the Class and the response has been

 overwhelmingly positive. Over 31,000 claims have been filed while only 348 opt-

 outs have been completed (or 0.03% of the Settlement Class). Additionally, only 3

 Settlement Class Members have lodged objections, none of which, as explained

 below, has merit.

       WHEREFORE, Plaintiff seeks final approval of this class action Settlement.

 This Motion is based on this Notice of Motion, the Memorandum in Support of the

 Motion attached hereto and the authorities cited therein, oral argument of counsel,

 and any other matter that may be submitted at the hearing.

 Dated: October 10, 2018                MICHAEL BOWMAN, individually and
                                        on behalf of all others similarly situated,


                                        By: /s/ Steven L. Woodrow

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Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18   PageID.628   Page 4 of 43




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Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18        PageID.629   Page 5 of 43




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

  MICHAEL BOWMAN, individually
  and on behalf of all others similarly
  situated,
                                              Case No. 17-cv-11630-NGE
                    Plaintiff,
                                              Hon. Nancy G. Edmunds
  v.
                                              Mag. R. Steven Whalen
  ART VAN FURNITURE, INC., a
  Michigan corporation,

                   Defendant.


       PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR
          FINAL APPROVAL OF CLASS ACTION SETTLEMENT




                                          i
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18                    PageID.630       Page 6 of 43




                                   TABLE OF CONTENTS
                                                                                                Page

 CONCISE STATEMENT OF ISSUE PRESENTED ...........Error! Bookmark not
    defined.

 CONTROLLING OR MOST APPROPRIATE AUTHORITIES .............. Error!
     Bookmark not defined.

 TABLE OF AUTHORITIES .................................. Error! Bookmark not defined.i

 I.     Introduction......................................................Error! Bookmark not defined.

 II.    Nature of the Litigation and Settlement ......................................................1

 III.   THE NOTICE PLAN SATISFIES DUE PROCESS..................................4

 IV.    THE SETTLEMENT SHOULD RECEIVE FINAL APPROVAL ..........6

        A.     There is no risk of fraud or collusion. ...............................................7

        B.     The complexity, expense, and likely duration of continued
               litigation weighs in favor of approving the proposed Settlement.. .8

        C.     The Parties conducted sufficient fact-finding. ................................10

        D.     The Settlement provides the Class Members with favorable relief
               when weighed against the likelihood of success on the merits. .....11

        E.     Class counsel and Bowman support the Settlement ......................13

        F.     The reaction from the Class has been overwhelmingly positive ...13

               1.      Only 3 of 1,150,000 class members have objected. ..............14

               2.      Ms. Varchetti’s objection to the notice is unfounded. . 1Error!
                       Bookmark not defined.

               3.      Varchetti’s objection to the fee calculation and the total
                       fund is inconsistent with standard class action practice .....19


                                                  ii
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18                         PageID.631         Page 7 of 43




              4.       Varchetti’s reliance on Snyder is misplaced because Art Van
                       is the only defendant with claims at issue .............................25

              5.       Mr. Waayenberg’s objection suggests that the terms of the
                       Settlement are fair and favorable to the Class .....................27

              6.       Mr. Thompson’s statement that he was personally unable to
                       file a claim with an affected phone number does not
                       undercut the Settlement’s fairness or adequacy ..................27

      G.      Public interest supports approval of the Settlement. .....................29


 V.   CONCLUSION ............................................................................................30




                                                    iii
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18        PageID.632      Page 8 of 43




                      CONCISE STATEMENT OF ISSUE
                              PRESENTED

   I.    Does the Settlement Agreement reached by the Parties—which provides

         for a Settlement Fund of five million eight hundred seventy-five

         thousand dollars ($5,875,000 USD) and strong prospective relief to

         ensure Defendant’s compliance with the Telephone Consumer

         Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)—achieve a fair,

         reasonable, and adequate result so as to warrant final approval?




                                         iv
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18       PageID.633    Page 9 of 43




         CONTROLLING OR MOST APPROPRIATE AUTHORITIES

                                General Authorities

 47 U.S.C. § 227, et seq.

 Fed. R. Civ. P. 23, et seq.

                               Controlling Case Law

 Fidel v. Farley, 534 F.3d 508 (6th Cir. 2008)

 Gooch v. Life Investors Ins. Co. of America, 672 F.3d 402 (6th Cir. 2012)

 Int’l Union, United Auto., Aerospace, & Agr. Implement Workers of Am. v. Gen.
        Motors Corp., 497 F.3d 615 (6th Cir. 2007)

 Williams v. Vukovich, 720 F.2d 909 (6th Cir. 1983)




                                          v
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18                       PageID.634        Page 10 of 43




                                  TABLE OF AUTHORITIES

                                                                                                  Page(s)
 Cases
         Barani v. Wells Fargo Bank, N.A., No. 12CV2999–GPC
              2014 WL 1389329 (S.D. Cal. Apr. 9, 2014) .......................................12
         Bert v. AK Steel Corp., No. 1:02–CV–467
                2008 WL 4693747 (S.D. Ohio Oct. 23, 2008) ......................................7
         Bourne v. Ansara Restaurant Group, Inc., No. 16-10332
              2016 WL 7405804 (E.D. Mich. Dec. 22, 2016)........................... 23–24
         Carson v. Am. Brands, Inc., 450 U.S. 79 (1981) ...........................................11
         Eisen v. Carlisle & Jacquelin, 417 U.S. 156 (1974) .......................................4
         Faught v. American Home Shield Corp.,
              668 F.3d 1233 (11th Cir. 2011) ...........................................................16
         Fidel v. Farley, 534 F.3d 508 (6th Cir. 2008) .............................................4, 5
         Fournier v. PFS Investments, Inc.,
              997 F. Supp. 828 (E.D. Mich. 1998) ...................................................23
         Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215 (N.D. Ill. 2016)............12
         Gooch v. Life Investors Ins. Co. of America,
              672 F.3d 402 (6th Cir. 2012) ...............................................................16
         Griffin v. Flagstar Bancorp, Inc., No. 2:10–cv–10610,
                2013 WL 6511860 (E.D. Mich. Dec. 12, 2013).......................... passim
         In re Auto. Parts Antitrust Litig., No. 12-md-02311
                2016 WL 8201483, (E.D. Mich. Dec. 28, 2016).......................... 4, 6–7
         In re Capital One Tel. Consumer Prot. Act Litig.,
                80 F. Supp. 3d 781 (N.D. Ill. 2015) ............................................. 12, 20
         In re Cardizem CD Antitrust Litigation,
                218 F.R.D. 508 (E.D. Mich. 2003)................................... 14, 22–23, 29
         In re Delphi Corp. Sec., Derivative & “ERISA” Litig.,
                248 F.R.D. 483 (E.D. Mich. 2008)........................................... 8, 14, 23
         In re Dry Max Pampers Litig., 724 F.3d 713 (6th Cir. 2013) .......................22
                                                     vi
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18                      PageID.635        Page 11 of 43



       In re Nissan Motor Corp. Antitrust Litig.,
              552 F.2d 1088 (5th Cir. 1977) .............................................................16
       In re Packaged Ice Antitrust Ligitation, No. 08–MD–01952
              2011 WL 717519 (E.D. Mich. Feb. 22, 2011)......................................7
       In re Telectronics Pacing Sys., Inc.,
              137 F. Supp. 2d 985 (S.D. Ohio 2001)..................................................8
       Int’l Union v. Ford Motor Co., Nos. 05-74730, 06-10331
              2006 WL 1984363 (E.D. Mich. July 13, 2006) ..............................7, 14
       Int’l Union v. Ford Motor Co., No. 07-CV-14845
              2008 WL 4104329 (E.D. Mich. Aug. 29, 2008) .......................... 18, 21
       Int’l Union, UAW v. Gen. Motors Corp.,
              497 F.3d 615 (6th Cir. 2007) ....................................................... passim
       Kinder v. Meredith Corp., No. 14-cr-11284
            2016 WL 454441 (E.D. Mich. Feb. 5, 2016) ......................................16
       Krakauer v. Dish Network, LLC, No. 1:14–CV–333
            2017 WL 4417957 (M.D. N.C. Oct. 3, 2017) .....................................21
       Kritzer v. Safelite Solutions, LLC, No. 2:10–cv–0729
             2012 WL 1945144 (S.D. Ohio May 30, 2012) ...................................10
       Martin v. Trott Law, Inc., No. 15-12838
             2018 WL 4679626 (E.D. Mich. Sept. 28, 2018) .................................24
       Newby v. Enron Corp., 394 F.3d 296 (5th Cir. 2004) ...................................10
       Rose v. Bank of America Corp., No. 5:11–CV–02390–EJD
             2014 WL 4273358 (N.D. Cal. Aug. 29, 2014) ............................. 12, 20
       Satchell v. Fed. Express Corp., Nos. C03–2659 SI, C 03–2878 SI
             2007 WL 1114010 (N.D. Cal. Apr.13, 2007) .......................................7
       Snyder v. Ocwen Loan Servicing, LLC, Case No. 14 C 8461
            2018 WL 4659274 (N.D. Ill. Sept. 28, 2018) .............................. 25–26
       United States v. Dish Network, LLC,
             256 F. Supp. 3d 810 (C.D. Ill. 2017)...................................................21
       Vasco v. Power Home Remodeling Grp. LLC, Civil Action No. 15-4623
             2016 WL 5930876 (E.D. Pa. Oct. 12, 2016) ............................... passim
       Williams v. Vukovich, 720 F.2d 909 (6th Cir. 1983) .......................................6
                                                   vii
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18                            PageID.636         Page 12 of 43



 Statutes, Rules, and Regulations
       Class Action Fairness Act, 28 U.S.C. § 1715 .................................................5
       Fed. R. Civ. P. 23 ................................................................................... passim
       Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. .................... iv

 Other Authorities
       Judges Class Action Notice and Claims Process Checklist and Plain
            Language Guide, 3 (2010) ....................................................................5




                                                      viii
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18       PageID.637      Page 13 of 43




 I.    Introduction

       The instant Class Action Settlement2—which seeks to resolve the claims of

 over 1.15 million Settlement Class Members regarding pre-recorded phone calls

 they received from Defendant Art Van—has been an undeniable success.

       In accordance with the Court’s Preliminary Approval Order, the Class

 Notice was disseminated to over 1.6 million mail and email addresses alerting

 potential Settlement Class Members to the existence of the Settlement and

 encouraging them to file claims. The response has been overwhelmingly positive.

 Only 348 opt-outs were sent, and only three class members have objected. As of

 October 9, 2018, 31,471 clams have been filed and approved and an additional 18

 claims await processing, resulting in a present-day Award Unit value of

 approximately $98.87 per claimant.3 This award value is demonstrably fair,

 reasonable, and adequate and worthy of final approval.

       As explained below, the Court should grant final approval.

 II.   Nature of the Litigation and Settlement

       The Court has been presented with the litigation and Settlement history in



 2
  Unless otherwise specified, capitalized terms have the same meanings as those set
 forth in the Definitions section of the Settlement Agreement. See Dkt. 35-1.
 3
  These calculations assume a Fee Award of 33%, an Incentive Award of $5,000,
 and projected administrative costs of $800,000 and will decrease as the remaining
 claims, and certain late-filed claims, are processed.
                                         1
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.638    Page 14 of 43




 prior briefs. An abbreviated summary follows.

 The Plaintiff’s Complaint and the Litigation History

       Prior to filing the lawsuit, Class Counsel undertook and extensive

 investigation into the facts. On May 23, 2017, Plaintiff filed the instant action. (See

 Dkt. 1.) Following the filing of the Complaint, counsel for the parties engaged in

 discussions regarding their views of the case, including the circumstances

 surrounding calls received by Plaintiff Bowman. (See Declaration of Steven

 Woodrow (“Woodrow Decl.”), Ex. A, at ¶ 8) Art Van then retained attorneys from

 Dykema Gossett PLLC, and Counsel for the Parties engaged in further fact-finding

 with respect to Bowman’s claims. (Id. ¶ 9.) On July 12, 2017, Bowman filed an

 Amended Complaint clarifying facts with respect to his phone. (Id. ¶ 10.)

       On August 21, 2017, new counsel from the law firm of Kellogg, Hansen,

 Todd, Figel & Frederick, P.L.L.C. appeared in the case for Art Van. (Dkts. 13, 14,

 17.) Attorney Martin Jaszczuk of Jaszczuk PC, a specialist in TCPA class actions,

 appeared on Art Van’s behalf as well. (Dkt. 21.) On September 20, 2017, Art Van,

 through its new lawyers, filed a Motion to Dismiss in part and Strike Class

 Allegations. (Dkt. 18.) On October 25, 2017, Plaintiff Bowman filed his response

 in opposition to Art Van’s Motion to Dismiss and to Strike. (Dkt. 22.)

 The Parties Engage in Mediation and Reach a Settlement
       During preparations for the hearing on Art Van’s Motion to Dismiss,

                                            2
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.639    Page 15 of 43




 counsel for the Parties began discussing the potential for settlement. (Woodrow

 Decl. at ¶ 12.) Counsel for the Parties agreed to engage in a formal mediation and

 scheduled a mediation with Magistrate Judge Denlow (ret.) of JAMS in Chicago.

 (Id. ¶ 13.) Despite extensive discussions facilitated by Magistrate Judge Denlow,

 counsel were unable to reach an agreement prior to the close of the mediation. (Id.

 ¶ 16.) Instead, the Parties agreed to proceed with Art Van’s Motion to Dismiss.

       At the same time, the Parties agreed to continue their discussions to discern

 whether a resolution was possible. (Id. ¶ 17.) During their continued preparations

 for the hearing, Judge Denlow engaged the Parties through series of telephone

 negotiations. (Id.) The result was that the Parties reached an agreement in principal

 shortly prior to the hearing. (Id. ¶ 18.) Only after an agreement in principal was

 reached with respect to the Class was attorneys’ fees or an incentive award

 discussed. (Id.) Counsel then worked to draft the Settlement Agreement, the Claim

 Form, and the notices, and work to resolve outstanding data issues. (Id. ¶ 19.)

       On April 26, 2018, Bowman filed his Motion for Preliminary Approval.

 (Dkt. 35.) On July 11, 2018, the Court held a hearing on preliminary approval and

 subsequently granted preliminary approval on July 23, 2018. (Dkt. 39.)

 Following Preliminary Approval, Class Counsel assisted Settlement Class
 Members and have worked to implement and finalize the Settlement

       Following preliminary approval, Class Counsel and Art Van’s attorneys

 worked cooperatively to implement the Settlement, including finalizing and
                                           3
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.640     Page 16 of 43




 approving all notices, the claim form, and the Settlement Website with the

 Settlement Administrator (Epiq Systems). (Woodrow Decl. at ¶¶ 21–22.)

 Approximately 1.6 million notices were sent via mail and email to the 1.15 million

 settlement class members, regarding mailings, opt outs, and re-mailings. (See

 Declaration of L. Marquez for Epiq Global (“Marquez Decl.”), a true and accurate

 copy of which is attached hereto as Ex. B, at ¶¶ 10–11.) Class Counsel have also

 assisted over 800 Class Members who have contacted their offices with questions

 regarding the Settlement’s terms and process. (Woodrow Decl. at ¶ 23.)

        As of this writing, 31,471 Settlement Class Members have filed claims,

 resulting in a per-claim amount of at least $98. Such results compare favorably

 with other TCPA class action settlements and warrant approval.

 III.   THE NOTICE PLAN SATISFIES DUE PROCESS

        Prior to granting final approval, the Court must consider whether the Notice

 to the Settlement Class is “the best notice that is practicable under the

 circumstances, including individual notice to all members who can be identified

 through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B); accord Eisen v. Carlisle &

 Jacquelin, 417 U.S. 156, 173 (1974); Fidel v. Farley, 534 F.3d 508, 513 (6th Cir.

 2008). Where names and addresses of known or potential class members are

 reasonably available, direct notice should be provided. In re Auto. Parts Antitrust

 Litig., 2016 WL 8201483, at *2 (E.D. Mich. Dec. 28, 2016). However, due process

                                            4
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.641     Page 17 of 43




 does not require receipt of actual notice by all class members. Fidel, 534 F.3d at

 514. In addition, the notice itself must be in easily-understood language and must

 state the class definition, set out the claims at issue, explain that a judgment will be

 binding on class members unless they opt-out, inform class members of their right

 to be excluded and the process to request exclusion, and inform class members that

 they may enter an appearance through an attorney if they wish. Fed. R. Civ. P.

 23(c)(2)(B).

       The notice plan approved by the Court has been fully carried out by the

 Settlement Administrator, Epiq Systems, and consisted of direct-mail notice sent to

 every identified Class Member and the establishment of a settlement website. (See

 Marquez Decl., Ex. B, at ¶¶ 2–5, 18.)4

       Of the initially-estimated 1,150,000 million Class Members, notice was

 mailed to 1,162,166 physical addresses. (Marquez Decl. at ¶ 11.) Of those, 103,751

 were returned as undeliverable, and 77,372 were re-mailed to updated addresses.

 (Id. ¶ 13.) Combined with emails, notice was sent directly to 1,081,769 out of the

 identified 1,167,769 unique Settlement Class Members, or 92.6%. (Id. ¶ 14.)

 Further, the notice was written in plain English, summarized the key terms, and

 directed Class Members to the Court-approved “long form” notice posted online.



 4
   Art Van further caused notice to be sent to appropriate Attorneys General as
 required by the Class Action Fairness Act, 28 U.S.C. § 1715.
                                            5
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.642    Page 18 of 43




 Through this website, Class Members could review key documents and receive

 important updates, including that the fairness hearing had been rescheduled. (Id. ¶

 22.) As the notice reached over 90% of the Class, it fully satisfies Rule 23 and Due

 Process. See Federal Judicial Center, Judges Class Action Notice and Claims

 Process Checklist and Plain Language Guide, 3 (2010) (due process requires 70%

 reach).

       In short, the Notice Plan comports with due process.

 IV.   THE SETTLEMENT SHOULD RECEIVE FINAL APPROVAL

           The law favors settlement of class actions. Auto. Parts, 2016 WL 8201483,

 at *3 (citing Griffin v. Flagstar Bancorp, Inc., No. 2:10–cv–10610, 2013 WL

 6511860, at *2 (E.D. Mich. Dec. 12, 2013)). To approve a settlement, the Court

 must conclude that it is fair, reasonable, and adequate. Fed. R. Civ. P. 23(e); Int’l

 Union, United Auto., Aerospace, & Agr. Implement Workers of Am. v. Gen. Motors

 Corp., 497 F.3d 615, 631 (6th Cir. 2007) (hereafter UAW v. GMC). The approval

 process includes three steps: (1) the court must grant preliminarily approval to the

 proposed settlement; (2) class members must be given notice of the settlement; and

 (3) the court must determine reasonableness and give final approval after a hearing.

 Williams v. Vukovich, 720 F.2d 909, 920–21 (6th Cir. 1983).

       The Sixth Circuit has identified a list of non-exhaustive factors for final

 approval: “(1) the risk of fraud or collusion; (2) the complexity, expense and likely

                                            6
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.643     Page 19 of 43




 duration of the litigation; (3) the amount of discovery engaged in by the parties; (4)

 the likelihood of success on the merits; (5) the opinions of class counsel and class

 representatives; (6) the reaction of absent class members; and (7) the public

 interest.” UAW v. GMC, 497 F.3d at 631; Auto. Parts, 2016 WL 8201483, at *4.

       As explained below, each of these factors support final approval.

       A.     There is no risk of fraud or collusion.

       The first factor weighs in favor of granting final approval. In general, courts

 “respect the integrity of counsel and presume the absence of fraud or collusion in

 negotiating the settlement, unless evidence to the contrary is offered.” In re

 Packaged Ice Antitrust Ligitation, 2011 WL 717519, at *12 (E.D. Mich. Feb. 22,

 2011) (quoting Int’l Union v. Ford Motor Co., 2006 WL 1984363, at *26 (E.D.

 Mich. July 13, 2006)). Negotiations overseen by a mediator are considered to be

 non-collusive. See Bert v. AK Steel Corp., 2008 WL 4693747, at *2 (S.D. Ohio

 Oct. 23, 2008) (“[A]n independent mediator in settlement negotiations virtually

 insures that the negotiations were conducted at arm’s length and without collusion

 between the parties.”); see also Satchell v. Fed. Express Corp., 2007 WL 1114010,

 at *4 (N.D. Cal. Apr.13, 2007) (“The assistance of an experienced mediator . . .

 confirms that the settlement is non-collusive.”).

       As the Court found in its Order Granting Preliminary Approval, this

 Settlement “is the result of arms’ length negotiations involving experienced class

                                           7
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18        PageID.644    Page 20 of 43




 action attorneys and overseen by an experienced third-party mediator.” (Dkt. 39, at

 ¶ 8.) This case was only settled with considerable help and oversight by a respected

 mediator, Magistrate Judge Denlow (ret.). The process was free of collusion and

 the Parties remained at arm’s length. The proposed Settlement resulted from

 continued negotiations, facilitated by Judge Denlow, and it could not have occurred

 without his help. The lack of collusion or fraud supports preliminary approval.

       B.     The complexity, expense, and likely duration of continued
              litigation weighs in favor of approving the proposed Settlement.

       The second factor—the complexity, costs, and duration of continued

 litigation—also favors final approval. “[T]he expense and possible duration of

 litigation are major factors to be considered in evaluating the reasonableness of a

 settlement.” In re Delphi Corp. Sec., Derivative & “ERISA” Litig., 248 F.R.D.

 483, 497 (E.D. Mich. 2008). For class actions, settlement “avoids the costs, delays

 and multitudes of other problems associated with them.” Id. (quoting In re

 Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985, 1013 (S.D. Ohio 2001)).

       Absent settlement, the present case could drag on for years. Pre-trial

 litigation would be extensive, with voluminous formal discovery needed from both

 Art Van and its hired vendor that placed the calls at issue. Experts may also be

 required to testify regarding Art Van’s equipment and other issues, such as the

 definition and contours of telemarketing and the purpose of Art Van’s calls.

 Substantial fact-finding would be required into the language used in Art Van’s
                                           8
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.645    Page 21 of 43




 recorded messages and the substance of the company’s “VIP events.” While Art

 Van has disputed that the events were for sales, significant discovery would need

 to be conducted regarding Art Van’s promotion of such events, instructions to

 staff, and sales figures during the times of the events.

       If Plaintiff were to survive the Motion to Dismiss, this case would proceed

 to formal class certification.5 Assuming a class was certified, dispositive motion

 practice would follow that would take months to complete. During such time, the

 law could change and threaten the claims or any chance of recovery by the class

 members. Assuming the Court denied summary judgment in Art Van’s favor, the

 case would proceed to trial on a class basis. In light of the total number of calls and

 the number of class members—more than one million—a finding of class-wide

 liability at trial would prove catastrophic for Art Van. In other words, a judgment

 worth hundreds of millions could bankrupt Art Van and reduce or eliminate any

 likelihood of recovery by the class. Further, any decision at trial could result in

 appeals, which would further multiply the costs and duration of this case.

       In short, litigation of this class action would be predictably complex, and the

 proceedings could extend for years before Class members recovered anything—a

 chance that could be rendered meaningless in the face of bankruptcy or appeal. All


 5
   The Court’s order granting preliminary approval certified the class solely for the
 purpose of the Settlement Agreement, suggesting that additional briefing would be
 required if the case continued. (Dkt. 39, at ¶ 6.)
                                            9
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.646     Page 22 of 43




 the while, the costs to both the Parties and the Court would continue to rise. Hence,

 this factor weighs in favor of granting final approval.

       C.     The Parties conducted sufficient fact-finding.

       The next factor considered is the amount of discovery engaged in by the

 parties, or whether the plaintiff had enough information to “adequately assess their

 case and the desirability of the proposed settlement.” Kritzer v. Safelite Solutions,

 LLC, 2012 WL 1945144, at *7 (S.D. Ohio May 30, 2012). Courts often “defer to

 the judgment of experienced trial counsel with regard to the evaluation of the

 strength of the case and the desirability of settlement....” Id. The absence of formal

 discovery is not an obstacle to final approval as long as the parties have enough

 information to evaluate their positions. Griffin, 2013 WL 6511860, at *3 (quoting

 Newby v. Enron Corp., 394 F.3d 296, 306 (5th Cir. 2004)).

       Here, although the Parties reached the proposed Settlement at an early stage

 of the case, Class Counsel had sufficient evidence to make an informed decision

 regarding settlement. Throughout the mediation, the Parties exchanged information

 that allowed Class Counsel to understand the size of the Settlement Class and the

 issues at hand. (Woodrow Decl. at ¶¶ 14–15.) This allowed both parties to evaluate

 their positions in the case before entering into formal, and more costly, forms of

 discovery. Combined with their experience, Class Counsel had all the information

 needed to assess the case and the desirability of the proposed Settlement. Just as

                                           10
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.647     Page 23 of 43




 the Court recognized in Griffin, the absence of formal discovery does not

 undermine the integrity of the Settlement because the investigation that has

 occurred thus far “demonstrates that counsel [for both Parties] have a full

 understanding of the strengths and weaknesses of their case.” See Griffin, 2013

 WL 6511860, at *3. In short, this factor supports approval as well.

       D.     The Settlement provides the Class Members with favorable relief
              when weighed against the likelihood of success on the merits.

       The next factor, which requires weighing the relief obtained against the

 likelihood of success, also favors final approval. When judging the fairness of a

 settlement, the Court must weigh “the plaintiff’s likelihood of success on the

 merits against the amount and form of the relief offered in the settlement.” UAW v.

 GMC, 497 F.3d at 631 (quoting Carson v. Am. Brands, Inc., 450 U.S. 79, 88 n. 14

 (1981)). This analysis does not require the Court to decide if either side has the

 better argument, but rather to determine “whether the parties are using settlement

 to resolve a legitimate legal and factual dispute.” UAW v. GMC, 497 F.3d at 632;

 Griffin, 2013 WL 6511860, at *4.

       Here, legal and factual disputes undoubtedly exist between the Class and Art

 Van—the proposed settlement is a means of resolving the overall issue of TCPA

 liability, a point on which the Parties disagree. Though Bowman is optimistic

 about the likelihood of success on the merits, there is always a risk that a verdict on

 certain issues could prove unfavorable to the Class. With this risk in mind, the
                                           11
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.648    Page 24 of 43




 Settlement proposed provides Bowman and the Class with fair and favorable relief.

       The claims filing period has since ended, and 31,471 class members filed

 claims. Class Counsel estimates that each claim will be worth roughly $98.87.

       Similar settlements have received final approval by federal courts. See, e.g.,

 Barani v. Wells Fargo Bank, N.A., 2014 WL 1389329 (S.D. Cal. Apr. 9, 2014)

 (finding a per-claim amount range of between $7 and $156 fair, reasonable, and

 adequate). This is particularly true where the liability could theoretically put Art

 Van into bankruptcy, making recovery much more difficult for the Class. See

 Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215, 228 (N.D. Ill. 2016) (“A

 $52.50 recovery in the hand is better than a $500 or $1,500 recovery that must be

 chased through the bankruptcy courts.”).

       Indeed, the settlement is demonstrably reasonable in light of other TCPA

 settlements. See Vasco v. Power Home Remodeling Grp. LLC, 2016 WL 5930876,

 at *10 (E.D. Pa. Oct. 12, 2016) (approving $5.2 million fund for 1.1 million

 settlement class members in TCPA case where each claimant was set to receive

 $26.63); see also In re Capital One Tel. Consumer Prot. Act Litig., 80 F. Supp. 3d

 781, 789 (N.D. Ill. 2015) (approving $34.60 per claiming member); Rose v. Bank

 of America Corp., No. 5:11–CV–02390–EJD, 2014 WL 4273358, at *10 (N.D.




                                           12
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18           PageID.649     Page 25 of 43




 Cal. Aug. 29, 2014) (approving $20.00 to $40.00 per claimant).6

          The relief provided by the Settlement Agreement is favorable in light of the

 risks of continued litigation and uncertain recovery. Thus, this factor weighs in

 favor of approving the Settlement.

          E.     Class counsel and Bowman support the Settlement.

          The opinion of Class Counsel also supports approval of the Settlement. The

 determination by Class Counsel that settlement is in the best interest of the Class “is

 entitled to significant weight, and supports the fairness of the class settlement.”

 Griffin, 2013 WL 6511860, at *5. Class Counsel have demonstrated their extensive

 experience in handling class actions. In light of the complexity of this case, both

 Class Counsel and Bowman support the proposed Settlement. Those class members

 who have filed claims will receive cash, and everyone will receive the benefit of

 Art Van’s prospective business assurances. Viewed against the risks of protracted

 litigation, the Settlement presents a far more favorable outcome for the Class.

          F.     The reaction from the Class has been overwhelmingly positive.

          The next factor considered by the Court, and the one factor that cannot be

     analyzed until notice has been sent, is the reaction of absent class members to the

     settlement. This factor weighs in favor of approving the Settlement. That is, Class


 6
  See also Motion for Preliminary Approval, Dkt. 35, at 37–38. The chart in
 Plaintiff’s prior motion included eleven approved TCPA settlements in various
 districts, ranging from individual awards of $12.97 to $102.62 per class member.
                                             13
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.650    Page 26 of 43




  members have reacted favorably to the settlement, with a predictably small

  number of opt-outs and only three objectors, Julie Varchetti, Brad Waayenberg,

  and Jason Thompson. Fortunately for the Class, none of the objections has merit.

  As such, this factor weighs in favor of settlement.

              1.     Only 3 of 1,150,000 class members have objected.

       The reaction of the class members to notice is an opportunity for the court

 “to gauge whether class members support the settlement.” Vasco, 2016 WL

 5930876, at *5 (citation omitted). This factor is generally analyzed by considering

 the percentage of objectors and opt-outs. See id.; In re Delphi, 248 F.R.D. at 500;

 In re Cardizem CD Antitrust Litigation, 218 F.R.D. 508, 527 (E.D. Mich. 2003).

       A certain number of opt-outs and objections are to be expected in class

 actions. In re Cardizem, 218 F.R.D. at 527. “If only a small number of objections

 are received, that fact can be viewed as indicative of the adequacy of the

 settlement.” Id. Thus, although the Court must evaluate objections, it has an

 obligation to protect the interests of the “silent class majority” that approves of the

 settlement. Int’l Union v. Ford, 2006 WL 1984363, at *27. In practice, objection

 and opt-out rates of less than 1% suggest that the Settlement is fair, reasonable, and

 adequate, thereby weighing this factor in favor of settlement. Id. (finding that 800

 objectors in a class of 170,000 is a “very small level of opposition” and “reason to

 conclude that the Settlement is fair, reasonable, and adequate”); see also Vasco,

                                           14
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.651    Page 27 of 43




 2016 WL 5930876, at *5 (finding that 155 opt-outs and 4 objections in a class of

 1.1 million noticed class members weighed in favor of settlement).

       Here, during the notice period following preliminary approval, a total of

 31,471 class members filed claims, while 348 opt-outs and only three objections

 were filed. (See Marquez Decl. at ¶ 16–18.) Thus, the number of opt-outs equals

 only 0.03% of the approximately 1,081,769 noticed class members. The objections

 by Ms. Varchetti, Mr. Waayenberg, and Mr. Thompson equal only 0.00028%—

 less than three ten-thousandths of one percent—of all noticed Class members, and

 0.009% of responding class members. Thus, an overwhelming majority of

 responding class members favor the Settlement.

       Nevertheless, the objections to the Settlement must be addressed. Ms.

 Varchetti objects to the extent of notice provided, as well as the total recovery and

 calculation of fees as a percentage of the common fund. (Dkt. 42.) Neither of these

 arguments is supported by prevailing case law. Further, in a supplement to her

 objection, Ms. Varchetti compares this settlement to a recently-rejected settlement

 in the Northern District of Illinois, but her comparison is unfitting. (See Dkt. 45.)

 Mr. Waayenberg makes a general objection to the settlement, believing that the

 case “should fail in favor of Art Van.” (Dkt. 44.) His objection actually supports

 the fairness and favorability of the settlement terms to the Class. Mr. Thompson’s

 objection is based on his inability to file a claim: he was unable to input a phone

                                           15
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.652    Page 28 of 43




 number that matched the Settlement Administrator’s database of affected phone

 numbers, and thereby objects to both the phone number input requirement and the

 sufficiency of the database. (Dkt. 43.) However, his objections do not hold up

 against the thousands of Class members who successfully filed claims.

              2.     Ms. Varchetti’s objection to the notice is unfounded.

       Ms. Varchetti first contends that the notice sent to her and the Class

 members is deficient because it does not explicitly refer to the value of statutory or

 treble damages for TCPA violations. (Dkt. 42, at ¶ 3.) However, the notice

 satisfied the requirements of Fed. R. Civ. P. 23, and more detailed information

 could have the potential to confuse or mislead the Class.

       Rule 23 requires the Court to direct reasonable notice of settlement to all

 class members who will be bound by the settlement. FED. R. CIV. P. 23(e)(1);

 Kinder v. Meredith Corp., 2016 WL 454441, at *3 (E.D. Mich. Feb. 5, 2016). The

 purpose is to fairly apprise class members of the settlement terms so that they may

 make informed decisions regarding their options. Gooch v. Life Investors Ins. Co.

 of America, 672 F.3d 402, 422–23 (6th Cir. 2012) (citing UAW v. GMC, 497 F.3d

 at 630). Due process “does not require that the notice set forth every ground on

 which class members might object to the settlement.” Id.; UAW v. GMC, 497 F.3d

 at 630 (“[T]here is no textual warrant for requiring a notice to lay out every reason

 a class member might object to the settlement.”). Indeed, courts have recognized

                                           16
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.653      Page 29 of 43




 that an overly detailed notice has the potential to “confuse class members and

 impermissibly encumber their rights to benefit from the action.” Faught v.

 American Home Shield Corp., 668 F.3d 1233, 1239 (11th Cir. 2011); In re Nissan

 Motor Corp. Antitrust Litig., 552 F.2d 1088, 1104 (5th Cir. 1977).

       Here, notice sent to the Class sufficiently informed members of their rights

 and enabled them to decide whether they wished to file a claim, opt out, or object

 to the settlement. The long-form notice provided to the Class included information

 on the nature of the suit, the value of the Settlement, the award unit that each

 claiming member will receive, how to file a claim, the consequences of not filing a

 claim, how the attorneys will be paid, how to opt out, how to object, the

 opportunity to attend the fairness hearing, the availability of more information on

 the Settlement Website, and a multitude of other information. (Dkt. 35-1, at 44–

 50.) Accordingly, the Court found that notice was sufficient to satisfy due process:

       The Court finds that the Notice Plan and all forms of Notice to the Class
       as set forth in the Settlement Agreement and the Exhibits thereto is also
       approved as its form, method, and content, complies with the
       requirements of Rule 23 and due process, and constitutes the best notice
       practicable under the circumstances. Fed. R. Civ. P. 23(c)(2)(B). The
       Court further finds that the Notice is reasonably calculated to, under all
       circumstances, apprise the members of the Class of the pendency of this
       action, the certification of the Class, the terms of the Settlement
       Agreement, and the right of members to object to the settlement and to
       exclude themselves from the Class.

 (Order Granting Prelim. Approval, Dkt. 39, at ¶ 10.)
                                           17
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.654    Page 30 of 43




       Ms. Varchetti objects to the notice because it does not include details about

 statutory damages, treble damages, the potential class size or the likely payout to

 class members. However, the absence of these select terms does not violate Rule

 23 or due process, and it does not impede the ability of class members to make

 informed decisions about their participation.7

       Varchetti points to statutory and treble damages as if to suggest that class

 members cannot make a decision without knowing the “potential recovery” against

 Art Van. However, as she points out, an award of full statutory damages under the

 TCPA could exceed $500,000,000—and this estimate does not even include treble

 damages. To suggest that this amount of money represents “potential recovery” for

 the Class would be seriously misleading and confusing.

       A judgment of that amount, with or without treble damages, would likely

 bankrupt Art Van, rendering any chance for class recovery much more difficult, if

 not impossible. Likewise, it would be misleading to present to the Class an

 astronomical estimate of damages that, in reality, could never be obtained. Because

 the nature of settlement is compromise, “settlements never equal the full value of

 the loss claimed by the plaintiffs.” Int’l Union v. Ford Motor Co., 2008 WL

 4104329, at *25 (E.D. Mich. Aug. 29, 2008) (emphasis added). And the Court



 7
  Ms. Varchetti asserts that payout is a necessary term of notice, but this detail
 could not have been known until the claims process was complete.
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Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.655    Page 31 of 43




 recognized that “there is no reason, at least in theory, why a satisfactory settlement

 could not amount to a hundredth or even a thousandth part of a single percent of

 the potential recovery.” Id. (citations omitted). Even presenting TCPA damages

 individually could be confusing:

       Although [statutory] damages appear attractive, an individual action
       under the [TCPA] may not be financially feasible. The costs of
       prosecuting an action, which includes the initial filing fee, could easily
       swallow a large portion of an individual claimant's recovery. The Act
       does not permit recovery of attorneys' fees, which means an individual
       claimant would need to proceed pro se, pay by the hour, or pay under a
       contingency agreement. These costs and fees necessarily reduce an
       individual claimant's amount of recovery, and could easily render an
       individual lawsuit cost ineffective.

 Vasco, 2016 WL 5930876, at *7. To avoid confusing the Class with an overly-

 detailed notice, the Parties tailored the notice to what was necessary to apprise the

 Class members of the case and their rights. Nevertheless, discussions of statutory

 and treble damages appear in the Complaint and Amended Complaint, both of

 which were provided to the Class members on the avfsettlement.com website.

       Though Varchetti chose to object based on her appraisal of the Settlement

 compared to statutory damages, Rule 23 does not require notice to inform class

 members of all such bases for objection. A detailed discussion of statutory

 damages in the notice would have risked confusing or misleading Class members

 into abandoning what is likely their best chance at recovery. Thus, Varchetti’s

                                           19
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18        PageID.656    Page 32 of 43




 objection to the form of notice is unfounded.

              3.    Varchetti’s objection to the fee calculation and the total
                    fund is inconsistent with standard class action practice.
       Varchetti next objects to the amount recovered and the fee award, arguing

 that the recovery is too low, that the percentage of funds gives Class Counsel “red-

 carpet treatment,”8 and that a lodestar calculation of fees would be more

 appropriate in this case. (Dkt. 42, at ¶¶ 5–6.) However, these arguments are

 incongruous with the history of class action settlements approved by this Court and

 others, including those in which Varchetti’s own attorney served as counsel.

       First, Varchetti objects to the size of the recovery—what she deems a “lack

 of success,” and her attorney repeatedly claimed during a telephone call with Class

 Counsel that she believed a “1% recovery” was insufficient. This misunderstands

 the law. First, the $5,875,000 recovered here is substantial for unwanted telephone

 phone calls and is wholly consistent with other TCPA class action settlements,

 both in terms of total recovery and amounts to be paid to each claimant. Again,

 courts across the Country have found recoveries under 1% acceptable. See Vasco,

 2016 WL 5930876, at *2 (approving fund of $5.2 million for class of 1.1 million



 8
   Varchetti’s characterization of the fees as a “clear sailing” provision is plainly
 incorrect because the Agreement does not attempt to insulate the fee award from
 objection or review. As she notes, the Settlement provides that Counsel could seek
 up to 33% as a fee award, but the Parties understand that the determination of fees
 is ultimately to be made by the Court, not the Settlement terms.
                                          20
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18        PageID.657    Page 33 of 43




 members—0.94% of statutory damages); In re Capital One, 80 F. Supp. 3d at 787

 (approving fund of $75.4 million for class of 17.5 million members—0.86% of

 statutory damages); Rose v. Bank of America Corp., 2014 WL 4273358, at *5

 (approving fund of $32 million for 7 million people—0.91% of statutory damages).

 This Settlement, a fund of $5.875 million for 1.15 million class members, equals

 slightly more than 1% of the full statutory damages.

       Even putting that aside, the notion that the recovery represents only 1% of

 what would have been awarded at trial misunderstands the law. While the fact

 finder could award up to $500 per call, that penalty is not a certain minimum, as

 Varchetti (or her counsel) seemingly believes. Rather, juries and courts can award

 less. See United States v. Dish Network, LLC, 256 F. Supp. 3d 810, 951–53, 991

 (C.D. Ill. 2017) (finding a statutory award of $8.1 billion for TCPA claims

 “excessive and in violation of due process” and reducing the award to $84 million,

 or approximately 1% of statutory damages); Krakauer v. Dish Network, LLC, 2017

 WL 4417957, at *2 (M.D. N.C. Oct. 3, 2017) (“The jury awarded $400 per call.”).

       And here the risk of a substantially-lower award is actually made plain by

 another objector. As explained in more detail below, Mr. Waayenberg objects to

 the Settlement because he believes the Settlement gives the class too much—he

 would prefer that the case fail at trial and Art Van pay nothing. (Dkt. 44.) Such an

 outcome is possible, and it is one of the risks that tempers the recovery procured

                                          21
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.658     Page 34 of 43




 through a settlement. As the Court noted in Int’l Union v. Ford, a satisfactory

 settlement could be as little as a hundredth of a percent of potential recovery. 2008

 WL 4104329, at *25. Though Varchetti may have a “competing notion[] of

 reasonableness,” the Settlement represents a fair result for the Class. See id.

       Next, to support her fee objection, Varchetti points to Dry Max Pampers, a

 case in which the Sixth Circuit reversed the approval of a settlement that was

 unfair to unnamed class members. In re Dry Max Pampers Litig., 724 F.3d 713

 (6th Cir. 2013). In that case, the settlement purported to award $2.73 million in

 fees to class counsel, an incentive award of $1000 to each named plaintiff, and

 only limited injunctive relief and an extended refund program to the class. Id. at

 716. The Court saw the value of the refund program as “dubious on its face,” and

 the labelling and website changes “amount[ed] to little more than advertising for

 Pampers.” Id. at 719. Thus, the Court found the agreement was preferential to class

 counsel and gave only perfunctory relief to the unnamed class members. Id. at 721.

       The settlement in Dry Max bears no resemblance to the Settlement at hand.

 Here, the Agreement provides class members with cash—not a dubious refund

 program. Further, the Settlement requires that Art Van take steps to ensure it

 doesn’t make unlawful calls. The attorney’s fees award sought here are

 inextricably linked to the benefits obtained for the Class. Class Counsel is

 representing Bowman and the Class on a contingency basis—if the Class doesn’t

                                           22
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.659    Page 35 of 43




 receive an award, neither do Counsel. This percentage of fee award is not

 preferential to Class Counsel, and the Class award is certainly not “perfunctory.”

       To the extent that Varchetti argues the Court has discretion to select the

 more appropriate method for calculating fees, she is correct. See In re Cardizem,

 218 F.R.D. at 532. However, her position that the lodestar is a more appropriate

 method to apply in this case flatly ignores Sixth Circuit precedent. “[C]ourts in the

 Sixth Circuit have indicated their preference for the percentage-of-the-fund method

 in common fund cases.” Id. This trend is nothing new:

       The lodestar method should arguably be avoided in situations where
       such a common fund exists because it does not adequately acknowledge
       (1) the result achieved or (2) the special skill of the attorney(s) in
       obtaining that result. Courts and commentators have been skeptical of
       applying the formula in common fund cases.... [M]any courts have
       strayed from using the lodestar in common fund cases and moved
       towards the percentage of the fund method which allows for a more
       accurate approximation of a reasonable award for fees.

 In re Delphi, 248 F.R.D. at 502 (quoting Fournier v. PFS Investments, Inc., 997 F.

 Supp. 828, 831–32 (E.D. Mich. 1998)).

       Indeed, attorney’s fees equal to one-third of a common fund are frequently

 awarded in class action settlements, including several in which Varchetti’s

 attorney, Kathleen Klaus, has served as defense counsel. For example, in Bourne,

 the Court approved of an award of $230,000 in attorney’s fees and costs, which

 “represents a third of the potential gross recovery and creation of the common

                                          23
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.660    Page 36 of 43




 benefit fund.” Bourne v. Ansara Restaurant Group, Inc., No. 16-10332, 2016 WL

 7405804, at *3 (E.D. Mich. Dec. 22, 2016). The Court used the lodestar only to

 crosscheck the percentage of fund award, explaining that the lodestar was “not the

 better method to determine the attorney’s fee.” Id.

       In Martin, a recent case where Varchetti’s counsel represented class

 defendants, the Court granted final approval to a $7.5 million common fund

 settlement for a FDCPA class action. Martin v. Trott Law, Inc., No. 15-12838,

 2018 WL 4679626, at *1 (E.D. Mich. Sept. 28, 2018). The settlement will result in

 payment of approximately $82.10 to 54,445 claiming class members, with some

 unpaid funds reverting to the defendant. Id. at *2–4, *8. The Court granted a fee

 award of $2,499,750, “calculated as 33-1/3 percent of the settlement common fund,

 according to the terms of the settlement agreement.” Id. at *6. This amount was

 deemed appropriate, in part, given the risk inherent in contingent fee litigation. Id.

 at *7. Additionally, the Court found 33.3% to be “within the range of percentage

 fees that have been approved in complex consumer class actions.” Id. at *8.

       In contrast, Varchetti fails to cite any case suggesting that 18% of the fund

 would be reasonable here, particularly where such a low figure would provide a

 disincentive for counsel to settle early.

       Further, the instant Settlement is a success: it provides for a common fund of

 $5,875,000—none of which will revert to Art Van. After fees and expenses are

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Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.661    Page 37 of 43




 deducted, the remainder of the fund will be divided evenly among the nearly

 32,000 Class Members that have filed claims, for an individual award unit of

 approximately $98.87. Class Counsel’s request to award fees as a calculation of

 33.3% of the common fund is in line with countless class action settlements. In

 light of the result of this Settlement, Class Counsel’s labor and expenses, and the

 risks inherent to contingent fee representation, the requested fee award is

 reasonable. Further, the common fund established by the Settlement warrants the

 suggested percentage-based calculation of fees.

              4.    Varchetti’s reliance on Snyder is misplaced because Art Van
                    is the only defendant with claims at issue.

       In a supplement to her objection filed after the deadline, Varchetti likens this

 case to the recent Snyder v. Ocwen decision in the Northern District of Illinois,

 where a settlement of TCPA and FDCPA claims was denied. Snyder v. Ocwen

 Loan Servicing, LLC, 2018 WL 4659274, at *6 (N.D. Ill. Sept. 28, 2018). The

 settlement proposed in Snyder had several issues that made it unsavory—issues

 that are not present in this Settlement Agreement. First, given the claims rate in

 that case, the individual award unit equaled only $39 per class member, which was

 significantly lower than anticipated. Id. at *3, *6. Compared with almost $100 per

 class member, the settlement in Snyder could certainly be viewed as a “lack of

 success.” Id. at *6. Second, the agreement in Snyder requested an incentive award

 of $75,000 to be divided among three named plaintiffs. Id. at *2. This is an
                                           25
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.662    Page 38 of 43




 unusually high incentive award to be drawn from the common fund, and it is fifteen

 times greater than the award Class Counsel has requested for Bowman.

       Finally, and most notably, the settlement in Snyder dismissed claims against

 a number of large banks who were joined as defendants when Ocwen claimed it

 lacked money to pay more. Id. at *1. These banks were potentially liable for the

 same TCPA and FDCPA violations, as Ocwen sought to collect on loans held by

 the banks. Id. at *1–2. The Court took issue with this because the settlement would

 release the claims against the banks for no consideration. Hence, some defendants

 would not pay into the settlement even though they would receive a broad release.

 Id. at *2. For good reason, the Court found that “the absence of an explanation for

 why the banks are being let off scot-free [was], at best, disconcerting.” Id. at *6.

       Varchetti suggests in her supplement that the Settlement Agreement’s

 release of “unknown claims” against Splice Software, Inc. (a third party with

 nothing close to the resources of US Bank) is akin to releasing the bank defendants

 in Snyder. However, there are two key differences: first, Splice Software is not a

 defendant in this case, and the Class has made no claims of TCPA violation against

 it. Varchetti claims that “those claims were no [sic] explored prior to granting

 Splice Software, Inc. a release.” (Dkt. 45.) She is correct because no such claims

 have been made. Second, Splice Software is not responsible for the calls at issue in

 the way that the banks may have been in Snyder. The calls in Snyder were placed

                                           26
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18           PageID.663    Page 39 of 43




 by the loan servicer Ocwen, regarding loans held in trust by the banks. Snyder,

 2018 WL 4659274, at *1. Thus, it could be argued that the banks violated the

 TCPA and FDCPA because they caused or directed the calls. Such a relationship

 does not exist here. The calls alleged were made by Art Van, for the benefit of Art

 Van. Art Van is the only defendant in this case, and it is giving consideration in

 exchange for a release of the Class’s claims. Snyder is thus distinguishable.

              5.     Mr. Waayenberg’s objection suggests that the terms of the
                     Settlement are fair and favorable to the Class.

       Unlike Varchetti, who argues that Art Van isn’t required to pay enough, Mr.

 Waayenberg argues the opposite: that Art Van is paying too much and that the case

 should “fail in favor of Art Van.” (Dkt. 44.) This is a rather unusual position for a

 class member to take, but Waayenberg makes it clear that he is a customer of Art

 Van and doesn’t mind receiving their calls. (Id.) His objection does not suggest

 that the settlement is unfavorable to the Class. In fact, it suggests just the opposite:

 should a jury agree with Waayenberg (whose position was one of Art Van’s chief

 defenses), the Class could end up receiving nothing. A jury may have far more

 sympathy for calls advertising sales events than repeated calls to collect on debts,

 as were at issue in Snyder. This view sharply undercuts Varchetti’s position that

 $5,875,000 is too small a recovery for phone calls. Put simply, Waayenberg’s

 objection further demonstrates that the Settlement is a fair and reasonable outcome.


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Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.664    Page 40 of 43




              6.    Mr. Thompson’s statement that he was personally unable to
                    file a claim with an affected phone number does not
                    undercut the Settlement’s fairness or adequacy.

       Mr. Thompson, a class action lawyer, objects on the basis that he was unable

 to input an affected phone number on the website that matched the Administrator’s

 database and thereby file a claim. (Dkt. 43.) He thus objects to both the phone

 number input requirement and the sufficiency of the phone number database. (Id.)

 The heart of Thompson’s objection is a request for assistance, and it doesn’t

 undermine the fairness of the Settlement.

       In order to identify class members, Art Van provided the Administrator with

 a list of numbers that it had called during the relevant period (the “affected phone

 numbers”). (Marquez Decl. at ¶ 2.) Thompson claims he entered multiple numbers

 into the website. While one of the numbers he entered was apparently included in

 the Settlement, the other numbers he entered were not, which triggered the website

 to provide a statement notifying Mr. Thompson of the specific incorrect number(s).

 Despite this notice, Mr. Thompson did not remove the non-qualifying phone

 numbers and re-submit the claim with only the valid phone number as prompted.

       This individual issue could have been resolved with assistance from either

 Class Counsel or the Administrator. During the notice period, Class Counsel

 received hundreds of calls. Class Counsel even hired an additional law clerk to

 field and return such calls. (Woodrow Decl. at ¶ 23.) Thompson states that he made

                                          28
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18         PageID.665     Page 41 of 43




 one attempt to contact Counsel at some point in September, but he does not

 indicate whether he reached out to the Administrator, sent any emails, or made any

 other attempts. It is unfortunate that Thompson was unable to receive assistance

 during the notice period, but Class Counsel has since communicated with him

 about processing his claim (and Defendant has indicated it would not object to a

 late claim). In light of the thousands of Class members who managed to

 successfully file claims, neither Thompson’s inability to file a claim nor the phone

 number requirement itself renders the Settlement unreasonable or unfair. The same

 input was required of all Class Members, and 30,259 members entered their

 affected phone numbers successfully when filing online.9 (Marquez Decl. at ¶ 18.)

       G.     Public interest supports approval of the Settlement.

       The final factor, public interest, also supports final approval of the

 settlement. “[T]here is a strong public interest in encouraging settlement of

 complex litigation and class action suits because they are ‘notoriously different and

 unpredictable’ and settlement conserves judicial resources.” Griffin, 2013 WL

 6511860, at *5 (quoting In re Cardizem, 218 F.R.D. at 530). The present action,

 affecting approximately 1.15 million individuals, is undoubtedly complex.

 Settlement of this case will provide certainty and uniformity of results for both the



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  Mr. Thompson has requested data regarding all failed attempts to file claims.
 Epiq has indicated no such information is available. (Woodrow Decl. at ¶ 25.)
                                           29
Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18          PageID.666    Page 42 of 43




 Class Members and Art Van. Additionally, settlement will conserve judicial

 resources. Thus, public interest favors granting approval to the Settlement.

       In total, all of the identified factors weigh in favor of granting final approval.

 V.    CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests the Court grant

 final approval to the Class Action Settlement reached in this case and Order that

 Final Judgment be entered in favor of the Settlement on the terms set forth in the

 Agreement and for additional relief as the Court deems necessary and just.


 Dated: October 10, 2018                 MICHAEL BOWMAN, individually and
                                         on behalf of all others similarly situated,

                                         By: /s/ Steven L. Woodrow

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Case 2:17-cv-11630-NGE-RSW ECF No. 48 filed 10/10/18      PageID.667   Page 43 of 43




                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 10, 2018, I served the
 above and foregoing papers by causing such paper to be filed with the Court using
 the Court’s electronic filing system, which will send copies of such paper to all
 counsel of record.


                                      /s/ Steven L. Woodrow
